Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 14-CV-24887- LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                       OMNIBUS ORDER AND ORDER CLOSING CASE

          THIS MATTER is before the Court on three Motions. First is Intervenors, Halliwel

  Assets, Inc. and Panikos Symeou’s (“Intervenors”) Motion for Clarification of the March 17, 2020

  Order to Prevent the Spoliation of Evidence as to Murphy & McGonigle (ECF No. 362).

  Applicants Bracha Foundation, Hornbeam Corporation and Vadim Shulman responded in

  opposition (“Hornbeam Parties”) (ECF No. 367), Intervenors replied (ECF No. 370). Also before

  the Court is Subpoena Respondents1 Motion to Compel Compliance with Order on Motion to Shift

  Costs (ECF No. 369), to which Hornbeam Parties responded in opposition (ECF No. 372) and

  Subpoena Respondents replied (ECF No. 374). Finally, before the Court is Intervenors’ Motion to

  Produce and Unseal Applicant Hornbeam’s Ex Parte Filing (ECF No. 345), to which Subpoena

  Respondents moved to join (ECF 346), Hornbeam Parties responded in opposition (ECF No. 347),

  and Intervenors replied (ECF No. 348). All three matters are ripe for disposition.

          This case arises out of an application for discovery pursuant to 28 U.S.C. § 1782. Section

  1782 limits this Court’s jurisdiction to the foreign proceeding that is listed in the original

  application. In re Fuhr, No. 13-21598-CIV, 2019 WL 2245482, at *2 (S.D. Fla. Jan. 11,



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   CC Metals and Alloys, LLC, Felman Production, LLC, Felman Trading, Inc., Georgian American Alloys, Inc.,
  Mordechai Korf, Optima Acquisitions, LLC, Optima Group, LLC, Optima Fixed Income, LLC, Optima Ventures,
  LLC, Optima International of Miami, Inc., and 5251 36ST, LLC

                                                     1
Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 2 of 6



  2019), report and recommendation adopted, No. 13-21598-CIV, 2019 WL 2245473 (S.D. Fla.

  Mar. 15, 2019) (citing Certain Funds Managed by Fortress v. KPMG, 798 F.3d 113, 124 (2d Cir.

  2017). However, the Eleventh Circuit has since vacated the Court’s Order allowing discovery:

  “Given Hornbeam’s recent concession that legal proceedings in the [BVI] will not be instituted,

  the discovery allowed by the district court is not for use in a foreign proceeding.” In re Hornbeam

  Corp.’s Request, 790 F. App’x 199, 201 (11th Cir. 2020). Notwithstanding, the Court always has

  jurisdiction to vindicate its authority and effectuate its decrees. Kokkonen v. Guardian Life Ins.

  Co. of America, 511 U.S. 375, 380 (1994).

         1. Motion For Clarification

         Intervenor’s motion for clarification asks the Court to clarify a prior Order and give effect

  to another. During the course of these proceedings, the Parties entered a Stipulated Protective

  Order (“SPO”) (ECF No. 224) that was drafted and agreed to by the Parties, and entered by the

  Court. The Parties then sought later to amend that Stipulated Protective Order, which the Court

  granted and entered an Amended Stipulated Protective Order (ECF No. 318).

         The SPO requires destruction of discovery materials in the event the BVI litigation never

  came to fruition or otherwise ended:

         The Responsive Materials must be destroyed if Hornbeam does not initiate the BVI
         Litigation within one year of the date of issuance of this Amended Protective Order.
         The one-year period shall be tolled during any time period this Court or the United
         States Court of Appeals for the Eleventh Circuit stays the use of the Responsive
         Materials. Any Party may request an extension of this one-year deadline by Motion
         to this Court, and non-requesting party can object by letter within three business
         days.

  (ECF No. 224 at ¶ 15(c)). The SPO defines “Responsive Material(s)” as “any document(s) or

  information produced in response to the Subpoenas and to any copies or reproductions, whether

  physical or electronic, of the Responsive Materials.”

         The SPO was signed on July 12, 2018. Therefore, the original date by which the discovery
                                                  2
Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 3 of 6



  materials had to be destroyed was July 12, 2019. This Court granted extensions to that date and

  eventually ordered the Responsive Materials destroyed within 14 days of its Order signed March

  17, 2020 (ECF No. 358). The Court’s Order stated, “Applicants shall destroy all documents

  collected and retained as part of this § 1782 proceeding within 14 days of the entry of this Order,

  and Applicants shall certify to this Court compliance on the date it is completed.” (ECF No. 358).

          Intervenors have moved this Court for clarification of the language emphasized above

  (ECF No. 362). Intervenors seek clarification of what the Order requires be destroyed because,

  they contend, it requires destruction of more than the SPO requires. In their motion they aver that

  the law firm of Murphy & McGonigle, which at one point represented the Hornbeam Parties, has

  in its possession communications between the Hornbeam Parties, Murphy & McGonigle, and the

  FBI/DOJ. Intervenors have asked Murphy & McGonigle to preserve any of those communications,

  and the attachments containing Responsive Materials. Because these communications were not

  collected in response to any subpoena issued in this case, they would not constitute Responsive

  Materials and Intervenors contend that if Murphy & McGonigle destroys those communications,

  as the law firm has indicated it intends to do, it would be destroying potential evidence. Intervenors

  contend that instead, Murphy & McGonigle should be ordered to turn the communications over to

  them.

          Applicants oppose the motion for clarification, though their grounds for opposition to

  clarification are unclear, if addressed at all. Applicants do clearly oppose an order compelling

  Murphy & McGonigle to turn over the contested documents to Intervenors.

          Because the Court’s Order of March 17, 2020 was intended only to require compliance

  with the previously entered SPO, Intervenor’s Motion is GRANTED, in part, and the Order of

  March 17, 2020 is clarified as follows: Responsive Materials, as defined by the SPO, must be



                                                    3
Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 4 of 6



  destroyed. The deadline to comply is extended to seven days from the date of this Order.

         To the extent Intervenors seek an order requiring any other disposition of documents

  collected or retained in the course of this proceeding that do not constitute Responsive Materials,

  or is not specifically required under the terms of the SPO or other Order of the Court, the Motion

  is denied.

         2. Motion to Compel Compliance with Order

         The second Motion similarly seeks to compel compliance with a prior order of the Court.

  Subpoena Respondents move for an Order compelling Hornbeam Corporation to comply by a date

  certain with this Court’s previous Order granting in part Subpoena Respondents’ Motion to Shift

  Costs (ECF No. 344) (“Costs Order”). The Costs Order required Hornbeam Corporation to pay

  Subpoena Respondents’ counsel a total of $16,283.51 in costs. Subpoena Respondents aver that

  they have tried in good faith to collect the money from Hornbeam Corporation, but it has refused

  to comply with the Court’s Order, necessitating the Motion to Compel. Additionally, the Motion

  asks the Court to invoke its inherent authority to sanction the Hornbeam Parties for failing to

  comply with its Order.

         The Hornbeam Parties responded that they do not dispute that the funds are due and owed,

  but state that the United States coordinating counsel representing Hornbeam Corporation changed

  law firms and the funds with which to pay Subpoena Respondents are being transferred from one

  firm’s trust account to the other. They state that they expect the funds to be available within

  fourteen days of the filing of the Response, dated May 1, 2020.

         Though Applicants have yet to comply with the Cost Order, this alone does not demonstrate

  bad faith. The key to unlocking a court’s inherent power is a finding of bad faith. See e.g. In re

  Abilify (Aripiprazole) Prod. Liab. Litig., No. 3:16-MD-2734, 2018 WL 4856767, at *9 (N.D. Fla.



                                                  4
Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 5 of 6



  Oct. 5, 2018). There is no dispute that the money is due and owed, however, the Court did not set

  a timeframe by which to comply. Therefore, Subpoena Respondents’ Motion to Compel

  Compliance is GRANTED, to the extent it sought a date by which compliance is required. The

  Hornbeam Corporation shall comply and pay Subpoena Respondents $16,283.51 on or before

  close of business on May 19, 2020. Failure to abide by this deadline may result in the imposition

  of sanctions.

          3. Motion to Produce and Unseal

          The final Motion (ECF No. 345) is brought by Intervenors and seeks an order requiring

  Applicants to produce and unseal an ex parte communication that Vadim Shulman filed with the

  Court as ECF No. 338. The Motion is joined by Subpoena Respondents (ECF No. 346).

          In August of 2019, Vadim Shulman filed an ex parte communication (“Ex Parte Filing”)

  with the Court (ECF No. 338). Intervenors moved to produce and unseal the Ex Parte Filing, and

  Subpoena Respondents joined in their Motion. The Motion avers that the Ex Parte Filing should

  be unsealed because Shulman has not moved to filed under seal as required by the local rules or

  otherwise met the high burden required to file under seal. Additionally, they aver that the filing

  should not be used in any merits decision of this case. The Hornbeam Parties responded that the

  document spoke for itself and meets the high burden necessary for an ex parte communication

  with the Court. Moreover, Applicants agree it would not be used in a decision on the merits.

  Intervenors averred in reply that the Hornbeam Parties could not rely on the document itself to

  justify keeping it secret.

          Southern District of Florida Local Rule 5.4(b) requires a motion to file under seal that sets

  forth the factual and legal basis from departing from the policy that Court filings are public and

  that describes the information or documents to be sealed with as much particularity as possible.



                                                    5
Case 1:14-cv-24887-LFL Document 375 Entered on FLSD Docket 05/11/2020 Page 6 of 6



  No motion was filed for leave to file the document under seal. The Hornbeam Parties have not

  explained why the Court should consider the document in any filings and no showing has been

  made for good cause for the Court to consider the filing at all, much less ex parte and under seal.

  Nor has the Court considered the filing in any rulings.

         Accordingly, the Ex Parte Filing (ECF No. 338) is STRICKEN. Intervenors’ Motion to

  Produce and Unseal and Subpoena Respondents’ Motion to Adopt are DENIED as moot.

         4. This Case Is Now Closed.

         No other motions remain pending in this matter. The Clerk of the Court is directed to mark

  this case as CLOSED.

         DONE AND ORDERED in Chambers this 11th day of May, 2020.




                                                       LAUREN LOUIS
                                                       UNITED STATES MAGISTRATE JUDGE




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